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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                              )
                                                     )
 SABINE STORAGE & OPERATIONS, INC                    )      Case No. 22 - 30670
                                                     )
               Debtor.                               )      Chapter 11 (Subchapter V)
                                                     )

                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 3, 2022, a true and correct copy of the Order Setting
Hearing [ECF No. 54] was served (a) by U.S.P.S. first class mail, postage prepaid, on the
parties indicated in the attached service list and (b) the following parties by electronic mail:

Jeannie Lee Andresen                  Sonic Surveys, Ltd.                  Knight Oil Tools LLC
Counsel to Harris County, Texas       Creditor                             Creditor
 houston_bankruptcy@lgbs.com          crystal@sonic-surveys.com            cole.griffin@ke.services

Alicia Barcomb                        Wayne Kitchens                       Sabine Resources, Inc.
Counsel to the U.S. Trustee           Counsel to Petro Amigos Supply       Creditor
alicia.barcomb@usdoj.gov              Incorporated                         jim.short1992@att.net
                                      wkitchens@hwa.com
Eric English                                                               James Short
Counsel to The Dow Chemical           Fastenal Company                     Creditor
Company                               Creditor                             jim.short1992@att.net
eenglish@porterhedges.com             jmilek@fastenal.com
                                                                           Texas Mutual Insurance
Joseph Epstein                        Kenneth J. Roane                     Company
Counsel to Zions                      Creditor                             Creditor
Bancorporation N.A.                   kenr@sabinestorage.com               bjones@texasmutual.com
joe@epsteintexaslaw.com
                                      Paden Alleman                        L&L Oilfield Services
Chris Quinn                           Notice Party for Hole Opener         Creditor
Subchapter V Trustee                  Corporation                          leslie@lnloilfield.com
chris.quinn2021@outlook.com           pjalleman@holeopener.com
                                                                           Mississippi Department of
Jeffrey Stewart                       Irongate Tubular Services LLC        Revenue
Counsel to Tanner Services,           Creditor                             Creditor
LLC                                   cole.griffin@ke.services             bankruptcy@dor.ms.gov
jstewart@wellscuellar.com



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                                   /s/ R. J. Shannon
                                   R.J. Shannon
                                   TX Bar No. 24108062
                                   SHANNON & LEE LLP
                                   Pennzoil Place
                                   700 Milam Street, Suite 1300
                                   Houston, TX 77002
                                   Email: rshannon@shannonpllc.com
                                   Phone: 713-714-5770

                                   Proposed Counsel to the Debtor and
                                   Debtor-in-Possession




                               2
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5718 Westheimer Houston Realty LP   Acme Truck Line, Inc.            Alabama Department of Revenue
PO Box 67136                        MSC‐410683                       Legal Division
Newark, NJ 07101‐6601               PO Box 415000                    Po Box 320001
                                    Nashville, TN 37241‐5000         Montgomery, AL 36132-0001


Ariba Inc.                          AT&T # 713‐651‐0928‐837          AT&T # 860497234 6
PO Box 734605                       PO Box 105414                    PO Box 5017
Chicago, IL 60673‐4605              Atlanta, GA 30348‐5415           Carol Stream, IL 60197‐5001



AT&T #171‐795‐6761‐377              Basil Oilfield Service Inc       Best Western
PO Box 5019                         Po Box 93                        23235 Hwy 1
Carol Stream, IL 60197‐5019         Saratoga, TX 77585‐0093          Plaquemine, LA 70764



BJ Services LLC                     Bosco Oilfield Services          Bradley Arant Boult Cummings LLP
Po Box 733585                       211a E Etienne Rd                Attn: Justin T. Scott
Dallas, TX 75373‐3585               Maurice, LA 70555‐4345           600 Travis St Ste 4800
                                                                     Houston, TX 77002‐3024


CalTex Oil Tools LLC                Conquest Drilling Fluids, Inc.   Crosby Tugs LLC
PO Box 1489                         9200 Leonidas Horton Rd          PO Box 279
Tomball, TX 77377                   Conroe, TX 77304                 Golden Meadow, LA 70357



Datavox                             DISA Global Solutions, Inc.      Empire Wireline
PO Box 660831                       Dept. 3731                       PO Box 967
Dallas, TX 75266                    PO Box 123731                    Manvel, TX 77578
                                    Dallas, TX 75312‐3731


Evangeline Parish Sales Tax Commn   Fanning I.T. Service LLC         Federal Express
Po Box 367                          415 N. Main                      942 Shady Grove Road
Ville Platte, LA 70586-0367         Highlands, TX 77562              Memphis, TN 38120



Frank's International LLC           Gulf Coast Coil Tubing           Halliburton Energy Services, Inc.
Po Box 735523                       PO Box 1710                      PO Box 301341
Dallas, TX 75373‐5523               Scott, LA 70583                  Dallas, TX 75303‐1341



Hampton Inn & Suites                Hampton Inn & Suites             Harris County Tax Assessor
3135 E Main St.                     1121 Hwy 332 West                1001 Preston St.
Alice, TX 78332                     Clute, TX 77531                  Houston, TX 77002



Harry G. Allison                    Hirsch & Westheimer, P.C.        HiTouch Business Services
3103 Sleepy Hollow Dr               1415 Louisiana St # 36           PO Box 930257
Sugar Land, TX 77479‐1664           Houston, TX 77002‐7360           Atlanta, GA 31193‐0257
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Hole Opener Corporation              Houston Area Safety Council       Internal Revenue Service
PO Box 82006                         PO Box 621001                     Centralized Insolvency Office
Lafayette, LA 70598‐2006             Dallas, TX 75267‐1001             Po Box 7346
                                                                       Philadelphia, PA 19101-7346


IronGate Tubular Services            James H. Short                    John Dixon
PO Box 204423                        3518 Suffolk Dr                   1081 Shamrock Ln
Dallas, TX 75320‐4423                Houston, TX                       Mccomb, MS 39648‐3774



John Gibson                          Jordan, Lynch & Cancienne, PLLC   Jose Pereira
4610 Brooklyn Dr.                    Attn: Kevin Jordan                800 Country Place 1004
Sulphur, LA 70665                    1980 Post Oak Blvd Ste 2300       Houston, TX 77079
                                     Houston, TX 77056‐3841


Kansas Department of Revenue         Kenneth J Roane                   Knight Oil Tools, Inc
Problem Resolution Team              16327 Sir William Dr              c/o Regions Bank
Po Box 2005                          Spring, TX 77379‐7639             Po Box 207923
Topeka, KS 66601-2005                                                  Dallas, TX 75320‐7923


L&L Oilfield Services                Madison Parish, Louisiana Po      Marsh Wortham
Attn: Arthur Lewis, Jr.              Box 100                           Attn: Cristina Nino
Po Box 818                           Vidalia, LA 71373-0100            2727 Allen Pkwy
Friendswood, TX 77549‐0818                                             Houston, TX 77019‐2115


Marsh/Worthman, Inc.                 Melton & Melton, L.L.P.           Minuteman Press ‐ Post Oak
PO Box 301513                        6002 Rogerdale Rd. Ste. 200       4212 San Felipe Rd. PMB #386
Dallas, TX 75303‐1513                Houston, TX 77072                 Houston, TX 77027‐2902



Mississippi Department of Revenue    Mobile Mini Inc. d/b/a Mobile     Moncla Workover & Drilling
Po Box 23075                         Storage Solutions                 Operations LLC
Jackson, MS 39225-3075               PO Box 650882                     Po Box 53408
                                     Dallas, TX 75265‐0882             Lafayette, LA 70505‐3408


New Mexico Taxation & Rev.Dept       North Carolina Department of      North Dakota Office of State Tax
Legal Services                       Revenue                           Commissioner
Po Box 630                           Po Box 25000                      600 E Boulevard Ave Dept 127
Santa Fe, NM 87504-0630              Raleigh, NC 27640-0002            Bismarck, ND 58505-0599


NOV Fluid Control                    NYS Tax Department                Ohio Department of Taxation
PO Box 202631                        Bankruptcy                        Attn: Bankruptcy Divison
Dallas, TX 75320                     W A Harriman Campus               Po Box 530
                                     Albany, NY 12227-5100             Columbus, OH 43216-0530


Padre Tubular Inc.                   Peart Enterprises, Inc.           Petro Amigo Supply, Inc.
PO Box 189                           102 E. Maple Avenue               PO Box 957554
Corpus Christi, TX 78403             Eunice, LA 70535                  Saint Louis, MO 63195‐7554
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Phonoscope Ltd.                      Pioneer Well Services, LLC        Premium Oilfield Services LLC
6105 Westline Drive                  PO Box 676144                     PO Box 203763
Houston, TX 77036‐3515               Dallas, TX 75267                  Dallas, TX 75320‐3763



Public Storage                       Quadient Leasing USA Inc          Quadient Leasing USA Inc
11900 Katy Fwy                       Dept. 3682                        Attn: Sarah Scudder
Houston, TX 77079‐1202               PO Box 123682                     478 Wheelers Farms Rd
                                     Dallas, TX 75312‐3682             Milford, CT 06461‐9105


R.P.S. Cementing Company LLC         Receivables Performance           Sabine Resources, Inc.
PO Box 176                           Management, LLC                   c/o James Short, VP
Livonia, LA 70755                    20818 44th Ave W Ste 140          3518 Suffolk Dr
                                     Lynnwood, WA 98036‐7709           Houston, TX 77027‐6328


Seaboard International Inc.          Seal‐Title LLC                    Sonic Surveys, Ltd.
PO Box 301861                        500 Deer Cross Dr.                Po Box 719
Dallas, TX 75303‐1861                Madisonville, LA 70447            Mont Belvieu, TX 77580‐0719



Sprint Waste Services                State Tax Advisors LP             Stellar Drilling Fluids LLC
PO Box 732411                        23740 Woodford Place Dr.          Po Box 22328
75343‐2411                           Kingwood, TX 77339                Houston, TX 77227‐2328



Tanner Services LLC                  Texas Labor Law Poster Services   Texas Mutual Insurance Company
Attn: Accounts Payable               6800 W Gate Blvd. Ste. 132        PO Box 841843
Po Box 1434                          Austin, TX 78745‐4868             Dallas, TX 75284‐1843
Eunice, LA 70535‐1434


The Dow Chemical Company             The Guardian Life Insurance       Tim Bauer
c/o CT Corp System                   PO Box 677458                     2227 Tangle Lake Dr.
1999 Bryan Street Ste 900            Dallas, TX 75267‐7475             Kingwood, TX 77339
Dallas, TX 75201


Total Safety U.S. Inc.               Totz Ellison & Totz, P.C.         U.S. Small Business Administration
PO Box 654171                        Attn: Jon Totz, Marc Ellison      Little Rock Comm. Loan Serv. Ctr.
Dallas, TX 75265‐4171                2211 Norfolk St Ste 510           2120 Riverfront Dr Ste 100
                                     Houston, TX 77098‐4048            Little Rock, AR 72202‐1794


United HealthCare Insurance          United Rentals, Inc.              Universal Wellhead Services, Inc
Company                              PO Box 840514                     1710 N Hearne Ave
Dept. CH 10151                       Dallas, TX 75284‐0514             Shreveport, LA 71107‐7119
Palatine, IL 60055‐0151


Utah State Tax Commission            VeriCore, LLC                     Verizon Wireless
Attn: Bankruptcy Unit                10115 Kincey Ave Ste 100          PO Box 660108
210 N 1950 W                         Huntersville, NC 28078‐6482       Dallas, TX 75226‐0108
Salt Lake Cty, UT 84134-9000
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Virginia Tax                        Williams Safety Rescue           Zions Bancorporation, NA
Attn: Bankruptcy                    ATTN: John Marques Williams      c/o Corporation Service Company
Po Box 1115                         5718 Westheimer Ste. 100         211 E 7th St Ste 620
Richmond, VA 23218-1115             Houston, TX 77057                Austin, TX 78701‐3218


LINEBARGER GOGGAN BLAIR &           Eric M. English                  Kevin Jordan, Caroline Carter
SAMPSON, LLP                        Porter Hedges LLP                Jordan, Lynch & Cancienne PLLC
PO Box 3064                         1000 Main Street, 36th Floor     1980 Post Oak Blvd., Suite 2300
HOUSTON, TX 77253-3064              Houston, Texas 77002             Houston, TX 77056


Jeffrey D. Stewart                  Texas Mutual Insurance Company   U.S. Trustee
Wells & Cuellar, P.C.               2000 Aldrich Street              Office of the U.S. Trustee
440 Louisiana, Suite 718            Austin, TX 78723-3475            515 Rusk Ave STE 3516
Houston, Texas 77002                                                 Houston, TX 77002-2604


L&L Oilfield Services               Knight Oil Tools LLC/Irongate    Hole Opener Corporation
Aurthur Lewis, Jr.                  Tubular Services LLC             Paden Alleman
Po Box 818                          6003 Cunningham RD               PO Box 82006
Friendswood, TX 77549               Houston, TX 77041-4705           Lafayette LA 70598


Fastenal Company
Attn: Legal Department
2001 Theurer Boulevard
Winona MN 55987
